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IN THE UNITED STATES DISTRICT COURT

FoR THE WESTERN DISTRICT oF TENNESSEE F"£D B"' "~~ °'G'

 

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UNITED sTATEs oF AMERicA U;HU_ ‘t‘ WULD
visas "
v. Cr. NO. 05-20309_1\/11

GERALD DAVENPORT
ORDER SPECIFYING PERIOD OF
DELAY EXCLUDABLE UNDER SPEEDY TRIAL ACT

The defendant has this day notified the Court that he or she is attempting to obtain private
counsel to represent him or her in this action Pursuant to the Speedy Trial Act, as set out in 18
U.S.C. § 3161(h)(8)(B)(iv), a defendant may be granted a period of excludable delay while
attempting to obtain private counsel.

IT IS THEREFORE ORDERED that the time period ofAugust 31, 2005 through September
21, 2005 be excluded from the time limits imposed by the Speedy Trial Act for trial of this case,
While the defendant is attempting to obtain private counsel.

ARRAIGNMENT IS RESET TO WEDNESDAY, September 21, 2005 at 9:30 a.m.

BEFORE MAGlSTRATE JUDGE VESCOVO.

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UNITED STATES MAGISTRATE JUDGE

DATE: 08/3]/05

This document entered on the docket sheet in compliance

with Ruie 55 and/or 32(b) FRCrP on q ' 2 f OS’

   

UNITED sTATE DRISTIC COURT - WETERN D's'TRCT oFTENNEssEE

Notice of Distribution

This notice confirms a copy of the document docketed as number ll in
case 2:05-CR-20309 Was distributed by faX, mail, or direct printing on
September 2, 2005 to the parties listed.

 

 

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Honorable .l on l\/lcCalla
US DISTRICT COURT

